                 Case
AO 245C (Rev. /1)     2:11-cr-00347-KJD-MDC
                     Amended Judgment in a Criminal Case                 Document 618              Filed 12/11/17 (NOTE:
                                                                                                                     Page     1 of
                                                                                                                         Identify    11 with Asterisks (*))
                                                                                                                                  Changes
                     Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                           __________  District
                                                                   District     of __________
                                                                            of Nevada
                 UNITED STATES OF AMERICA                                         )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                        )
                                                                                  )   Case Number: 2:11-cr-00347-KJD-CWH-1
                         HENRI WETSELAAR                                          )
                                                                                      USM Number: 46303-048
                                                                                  )
Date of Original Judgment:                   8/8/2017                             )
                                                                                      Jeffrey Setness, Retained
                                             (Or Date of Last Amended Judgment)       Defendant’s Attorney
                                                                                  )
Reason for Amendment:
                                                                                  )
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                 )   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  )
                                                                                      G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                  )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))             )   G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)               )
                                                                                         to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                  )   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                  )     G 18 U.S.C. § 3559(c)(7)
                                                                                      ✔
                                                                                      G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
✔
G was found guilty on count(s)       1, 2, 3, 4, 5, 6, 7, 8, 9, 13, 14 of the Superseding Indictment
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                        Nature of Offense                                                              Offense Ended                   Count
21 U.S.C. § 846, 841(a)(1),(b)(1)(C)   Conspiracy to Distribute Oxycodone                                               8/2010                        1

21 U.S.C. § 841(a)(1),(b)(1)(C),§ 2 Distribution of a Controlled Substances - Schedule II and Aiding and Abetting       8/2010                        2-9

 18 U.S.C. § 1957 and § 2 Money Laundering in a Value Greater than $10,000 and Aiding and Abetting 8/2010                    13
       The defendant is sentenced as provided in pages 2 through       8         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      8/8/2017
                                                                                      Date of Imposition of Judgment


                                                                                      Signature of Judge
                                                                                       KENT J. DAWSON, UNITED STATES DISTRICT JUDGE
                                                                                      Name and Title of Judge

                                                                                      12/7/2017
                                                                                      Date
                Case
AO 245C (Rev. /1)     2:11-cr-00347-KJD-MDC
                     Amended   Judgment in a Criminal Case   Document 618      Filed 12/11/17       Page 2 of 11
                      Sheet 1A                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                         Judgment — Page         2       of         8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                        ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature of Offense                                    Offense Ended                  Count
31 U.S.C. § 5324(a)(3),          Structuring Transactions to Evade Reporting           8/2010                         14
                                 Requirements and Aiding and Abetting
(d)(1),(d)(2) and 18 U.S.C § 2
                Case
AO 245C (Rev. /1)     2:11-cr-00347-KJD-MDC
                     Amended   Judgment in a Criminal Case    Document 618           Filed 12/11/17         Page 3 of 11
                      Sheet 2 — Imprisonment                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page         3     of          8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
120 months, per count, to run concurrent.




G      The court makes the following recommendations to the Bureau of Prisons:




✔
G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G      at                                G     a.m.      G    p.m.      on                                      .

       G      as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G      before 2 p.m. on                                            .

       G      as notified by the United States Marshal.

       G      as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                    with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
                  Case 2:11-cr-00347-KJD-MDC                    Document 618             Filed 12/11/17           Page 4 of 11
AO 245C (Rev. /17) Amended Judgment in a Criminal Case                                              (NOTE: Identify Changes with Asterisks (*))
         Sheet 3 - Supervised Release
                                                                                                                          Judgment - Page    4   of   8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                                            SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:       3 years, per count, to run concurr


                                                       MANDATORY CONDITIONS
1.        You must not commit another federal, state or local crime.
2.        You must not unlawfully possess a controlled substance.
3.        You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the court, not to exceed 104 tests annually.
                  G        The above drug testing condition is suspended, based on the court’s determination that you
                           pose a low risk of future substance abuse. (check if applicable)
4.        G        You must make restitution in accordance with 18 U.S.C. §§ 3663DQG3663Aor any other statute authorizingDVHQWHQFHRI
                   restitution. (check ifapplicable)
5.       G
         ✔         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.        G        You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
                   directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                   reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7        G        You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                Case
AO 245C (Rev. /1)     2:11-cr-00347-KJD-MDC
                     Amended  Judgment in a Criminal Case     Document 618             Filed 12/11/17          Page 5 of 11
                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page      5     of        8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
                Case
AO 245C (Rev. /1)    2:11-cr-00347-KJD-MDC
                     Amended  Judgment in a Criminal Case   Document 618    Filed 12/11/17       Page 6 of 11
                     Sheet 3D — Supervised Release                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                          Judgment—Page        6      of         8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                      SPECIAL CONDITIONS OF SUPERVISION
  1. Employment Restriction – You must not engage in an occupation, business, or profession, or volunteer activity that
  would require or enable you to Click here to enter text. without the prior approval of the probation officer.

  2. No Contact – You must not communicate, or otherwise interact, with name of victim, either directly or through someone
  else, without first obtaining the permission of the probation office.

  3. Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as defined
  in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search
  conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
  You must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
  probation officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
  condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
  conducted at a reasonable time and in a reasonable manner.
                 Case
AO 245C (Rev. /1)    2:11-cr-00347-KJD-MDC
                     Amended  Judgment in a Criminal Case      Document 618           Filed 12/11/17            Page 7 of 11
                     Sheet 5 — Criminal Monetary Penalties                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page         7        of          8
DEFENDANT: HENRI WETSELAAR
CASE NUMBER: 2:11-cr-00347-KJD-CWH-1
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                    JVTA Assessment*        Fine                               Restitution
TOTALS           $ 1,100.00                  $                       * $ 0.00                           $


G The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss**                       Restitution Ordered                      Priority or Percentage




TOTALS                            $                          0.00        $                       0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for        G fine         G restitution.
     G the interest requirement for the      G fine          G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                  Case
 AO 245C (Rev. /1)    2:11-cr-00347-KJD-MDC
                      Amended  Judgment in a Criminal Case       Document 618             Filed 12/11/17           Page 8 of 11
                      Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                           Judgment — Page      8      of         8
 DEFENDANT: HENRI WETSELAAR
 CASE NUMBER: 2:11-cr-00347-KJD-CWH-1

                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 A     ✔ Lump sum payment of $
       G                                 1,100.00             due immediately, balance due

           G not later than                                       , or
           G in accordance with G C,             G D,       G     E, or    G F below; or
 B     G Payment to begin immediately (may be combined with               G C,       G D, or G F below); or
 C     G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D     G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E     G Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 G Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
*G
   * Preliminary Order of Forfeiture Attached

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
Case 2:11-cr-00347-KJD-MDC   Document 618   Filed 12/11/17   Page 9 of 11
Case 2:11-cr-00347-KJD-MDC   Document 618   Filed 12/11/17   Page 10 of 11
Case 2:11-cr-00347-KJD-MDC   Document 618   Filed 12/11/17   Page 11 of 11
